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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO
                            Bankruptcy Judge Joseph G. Rosania, Jr.


 In re:
                                                    Bankruptcy Case No 23-13858-JGR
 SANDRA ROSEMARY OLDENBURG,
 LEE MICHAEL OLDENBURG,                             Chapter 13

 Debtor(s).

  ORDER DISMISSING CHAPTER 13 CASE PRIOR TO CONFIRMATION OF PLAN

       THIS MATTER comes before the Court on the Debtors’ Motion to Dismiss Case filed
October 1, 2024 (Docket #97). The Debtors seek dismissal of the within case in accordance
with 11 U.S.C. § 1307(b). It appears that the within case has not been converted previously
under 11 U.S.C. § 706, § 1112, or § 1208. Accordingly, the Court

          DOES FIND as follows:

          1.    Cause exists for dismissal of this case pursuant to 11 U.S.C. § 1307.
          2.    No plan has been confirmed.
          3.    No request for delayed revestment of property of the estate has been made.

          IT IS THEREFORE ORDERED as follows:

          1.    The within case is hereby DISMISSED. The Clerk of the Court shall serve this
                Order on all creditors and parties-in-interest within five (5) days of the date of
                this Order.

          2.    In accordance with 11 U.S.C. §§ 349(b)(1) and (2), any transfer avoided under
                Section 522, 544, 545, 547, 548, 549 or 724(a) of Title 11, or preserved under
                Section 510(c)(2), 522(i)(2), or 551 of Title 11 is reinstated; any lien voided under
                Section 506(d) of Title 11 is reinstated; and any order, judgment, or transfer
                ordered under Section 522(i)(1), 542, 550, or 553 of Title 11 is vacated.

          3.    All property of the estate, except payments made by the Debtors' to the Trustee,
                shall revest in the Debtor as of the date of this Order pursuant to 11 U.S.C. §
                349.

          4.    Payments made by the Debtor(s) shall be retained by the Trustee pending
                payment of claims allowed under Section 503(b) pursuant to 11 U.S.C. §
                1326(a)(2).
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             a. Any request for allowance of a Section 503(b) claim shall conform with 11
                U.S.C. § 503 and Rules 9013, 9014 and 2002, Fed.R.Bankr.P., and be filed
                no later than 28 days of the date of this Order.

             b. Within 30 days after determination of the last request, if any, for allowance
                of Section 503(b) claims, the Trustee shall pay all fees imposed by statute
                and all allowed section 503(b) claims from the Debtors' payments and return
                any surplus to the Debtor(s).

      DATED this 2nd day of October, 2024.

                                          BY THE COURT


                                          Joseph G. Rosania, Jr.,
                                          United States Bankruptcy Judge
